Case 2:04-cV-02139-.]P|\/|-de Document 70 Filed 07/08/05 Page 1 of 3 Page|D 106

 

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IN THE DISTRICT coURT '
FoR THE wEsTERN DISTRICT 0F TENNESSEE, WESTERN DI\°§!HW"B A" ||‘ ‘13
) amicus wsi§gi%m
CANDICE MILLER CooK ) WAJ OF Ff\a'. items
Plaintiff, )
)
vs. ) N0.04-2139 -Ml/v
) JURY DEMANDED
DAVID E. CAYWooD and, )
DARRELL D. BLANTON, )
Defendants. )
)

 

ORDER OF DISMISSAL AS TO
DEFENDANT CAYWOOD’S THIRD PARTY COMPLAINT

 

Comes Now Defendant, David E. Caywood, by and through undersigned counsel,
and announces to the Court that he desires to dismiss his third party complaint without
prejudice against defendant Archie Miller.

IT IS THEREFORE, ORDERED, ADJUDGED AND DECREED that the Third
Party Plaintiff’s cause of action be and is hereby voluntarily dismissed as to the
Defendant Archie Miller Without prejudice Clerk’s costs are to be assessed to Defendant

David Caywood.

ENTERED THIS 5 day 0 , 2005.
Qs~@ M "'@l@
ON . MCCALLA
ED STATES DISTRICT JUDGE

This document entered on the docket sheet |n compliance
with eula se and/or ve(a) FRCP on - /~O 5

   

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Honorable J on McCalla
US DISTRICT COURT

